USDC IN/ND case 2:18-cr-00150-PPS-APR document 216 filed 10/06/21 page 1 of 2


                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF MISSOURI
                               HAMMOND DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                             Plaintiff,           )
                                                  )
               vs.                                )             No. 2:18CR150-PPS
                                                  )
MARTIN CAMP,                                      )
                                                  )
                             Defendant.           )


                                  OPINION AND ORDER

         On September 24, 2021, the Clerk of Court received a handwritten letter from

defendant Matin Camp, acting pro se, in which he offers an account of his progress and

positive activities while serving 60 months’ imprisonment on a methamphetamine

conspiracy conviction in this case. [DE 215.] Camp requests consideration for “home

confinement or early release.” [Id. at 2.]

         Under the law applicable to this Sentencing Guidelines case, the Court's

authority to change or reduce a sentence previously imposed is strictly limited under

Rule 35 of the Federal Rules of Criminal Procedure and 18 U.S.C. §3582(c). Section

3582(c)(1)(A) has been amended to authorize motions for sentencing modification

“upon motion of the defendant after the defendant has fully exhausted all

administrative rights.” During the COVID pandemic, this provision has been invoked

in a wave of motions seeking early discharge from prison based on risks and dangers

associated with coronavirus infection. Camp’s letter invokes neither §3582(c)(1)(A) nor

COVID-19, but this statute presents the only possible authority for the relief Camp

seeks.

         But the request must be denied for at least two reasons. First, §3582(c)(1)(A)

requires administrative exhaustion, and Camp does not demonstrate that he has

requested the same relief from the warden of his facility and either been turned down
USDC IN/ND case 2:18-cr-00150-PPS-APR document 216 filed 10/06/21 page 2 of 2


or has waited at least 30 days before addressing his request to the courts. Second, the

standard that must be met for a sentence modification under the statute is that

“extraordinary and compelling reasons warrant such a reduction.” §3582(c)(1)(A)(i).

Camp’s efforts to “improve [him]self and stay busy” are commendable and I do not

diminish their importance to him, but they are frankly what is expected of every inmate

and not sufficiently out of the ordinary to justify a sentence reduction.

       Camp’s projected release date is October 25, 2022, according the Bureau of

Prisons website. Continuing to take classes, to work, and to steer clear of conduct

violations will be a wise investment of his time and effort until his release. Although I
cannot reduce his sentence based on the letter he has filed, I hope that he will complete

his prison term safely and will emerge to a better, healthier and more productive life

than he knew before.

       ACCORDINGLY:

       The Court will take no further action on Martin Camp’s letter dated September

20, 2021 and filed September 24, 2021 [DE 215].

       The Clerk is directed to provide a copy of this order to Camp at the institutional

address from which he sent the letter.

       SO ORDERED this 6th day of October.



                                                    /s/ Philip P. Simon
                                                  UNITED STATES DISTRICT JUDGE




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